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                                                 The Honorable:                                          Bruce T Beesley
                                                 Chapter 7
                                                 Location:                                               Foley fed Bldg.
                                                 Hearing Date:                                               12/03/2015
                                                 Hearing Time:                                                     11:00
                                                 Response Date:                                                       / /

                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEVADA

       In re: Executive Plastering, Inc.                                 §    Case No. 09-33776-BTB
                                                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       William A. Leonard, Jr.                    , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             300 S. Las Vegas Blvd.
             Fourth Floor
             Las Vegas, NV 89101

       NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
       Pursuant to LR 9014.1, the court will consider this motion, objection, or other matter without
       further notice of hearing unless a party in interest files and objection within twenty-one (21)
       days from the date of service of this paper. If you object to the relief requested in this paper, you
       may file your objection at the bankruptcy clerk's office located in Las Vegas at the United States
       Bankrupcty Court, 300 Las Vegas Blvd. South, Las Vegas, NV 89101, or in Reno at the United
       States Bankruptcy Court, 300 Booth Street, Reno, NV 89509, and serve a copy on the movant's
       attorney and any other appropriate persons.
       IT IS THE DUTY OF THE OBJECTING PARTY to timely set the objection for hearing and
       properly notice all parties in interest. If you do not file an objection within the time permitted, an
       order granting the request relief may be entered by the court without further notice or hearing.




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      Date Mailed: 11/02/2015                By: /s/William A. Leonard, Jr.
                                                                          Trustee
       William A. Leonard, Jr.
       6625 S. Valley View Blvd.
       Bldg. B, Suite 224
       Las Vegas, NV 89118
       (702) 262-9322




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                                                                The Honorable:                                                 Bruce T Beesley
                                                                Chapter 7
                                                                Location:                                                       Foley fed Bldg.
                                                                Hearing Date:                                                       12/03/2015
                                                                Hearing Time:                                                             11:00
                                                                Response Date:                                                               / /

                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF NEVADA

              In re: Executive Plastering, Inc.                                              §       Case No. 09-33776-BTB
                                                                                             §
                                                                                             §
         Debtor(s)                                                                           §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $         185,558.76

                     and approved disbursements of                                               $         127,248.22
                                                            1
                     leaving a balance on hand of                                                $          58,310.54

                                                          Balance on hand:                                   $              58,310.54
                Claims of secured creditors will be paid as follows:

 Claim          Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
 No.                                                         Asserted       of Claim          to Date                        Payment
   3            CLARK COUNTY                                    936.29                   0.00                    0.00              0.00
                ASSESSOR
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              58,310.54

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                                         Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - William A. Leonard, Jr.                                           12,527.94                      0.00         12,527.94
Trustee, Expenses - William A. Leonard, Jr.                                           274.75                     0.00            274.75
                                 Total to be paid for chapter 7 administration expenses:                     $              12,802.69
                                 Remaining balance:                                                          $              45,507.85


                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $               0.00
                             Remaining balance:                                             $          45,507.85

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $18,539.88 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
 32            NEVADA DIVISION OF INDUSTRIAL                          10,400.00                 0.00      10,400.00
               RELATIONS, LEGAL
 41            NEVADA DEPARTMENT OF TAXATION                               0.00                 0.00              0.00
 41 -2         NEVADA DEPARTMENT OF TAXATION                           8,139.88                 0.00       8,139.88
                                                 Total to be paid for priority claims:      $          18,539.88
                                                 Remaining balance:                         $          26,967.97
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 6,836,136.84 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.4 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            AMS, AN AFFILIATE OF ALLIED                          533,953.00                  0.00       2,106.41
               BUILDING PRODUCTS
  2            FEDEX CUSTOMER INFORMATION                                625.10                 0.00              2.47
               SERVICES
  4            CALLISTER + ASSOCIATES, LLC                            30,435.49                 0.00         120.07
  5            GMAC                                                      759.11                 0.00              2.99
  6            HARTFORD FIRE INSURANCE                                35,113.69                 0.00         138.52
               COMPANY




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7       IKON FINANCIAL SERVICES                  114,562.99          0.00         451.94
8       MILTON L. WALKER, VICE PRESIDENT         412,604.42          0.00        1,627.69
9       DEL WEBB'S COVENTRY HOMES OF             264,297.85          0.00        1,042.63
        NEVADA, INC
10      HARTFORD FIRE INSURANCE                   10,669.07          0.00          42.09
        COMPANY
11      KEY EQUIPMENT FINANCE INC.                34,563.02          0.00         136.35
12      GMAC                                      16,230.02          0.00          64.03
13      KEY EQUIPMENT FINANCE INC.               142,221.78          0.00         561.05
14      GMAC                                      23,285.65          0.00          91.86
15      GMAC                                       6,956.17          0.00          27.44
16      GMAC                                       6,564.63          0.00          25.90
17      E. CHEYENE AVE. & N. COMMERCE            240,901.00          0.00         950.33
        ST., L.L.C.
18      GMAC                                      11,185.57          0.00          44.13
19      GMAC                                       3,239.60          0.00          12.78
20      GMAC                                       8,472.79          0.00          33.42
21      GMAC                                       3,196.55          0.00          12.61
22      GMAC                                      17,845.95          0.00          70.40
23      ALLY FINANCIAL INC. F/K/A GMAC             9,975.24          0.00          39.35
        INC.
24      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
25      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
26      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
27      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
28      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
29      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
30      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA
31      PN II, INC., D.B.A. PULTE HOMES OF             0.00          0.00            0.00
        NEVADA




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 33            CHEYENNE AUTO PARTS, INC.                              3,514.13                0.00            13.86
 34            SMS FINANCIAL, LLC                                2,263,142.85                 0.00       8,927.90
 35            SMS FINANCIAL, LLC                                1,546,702.40                 0.00       6,101.61
 36            SMS FINANCIAL, LLC                                  319,640.59                 0.00       1,260.95
 37            PN II, INC. DBA PULTE HOMES OF                              0.00               0.00             0.00
               NEVADA
 37 -2         PN II, INC. DBA PULTE HOMES OF                              0.00               0.00             0.00
               NEVADA
 38            CENTRAL TELEPHONE COMPANY                                 677.78               0.00             2.67
 39            AMERICAN EXPRESS TRAVEL                             192,183.61                 0.00           758.15
               RELATED SERVICES CO INC
 40            DESERT FASTENERS AND SUPPLY LLC                        7,566.29                0.00            29.85
 42            GE CAPITAL FINANCE                                  178,107.93                 0.00           702.62
 43            BANK OF AMERCIA, N.A.                               396,942.57                 0.00       1,565.90
                            Total to be paid for timely general unsecured claims:         $           26,967.97
                            Remaining balance:                                            $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 44            THE HARTFORD FIRE INSURANCE                                 0.00               0.00             0.00
               COMPANY
 45            L & W PEZZILLO ROBINSON                                     0.00               0.00             0.00
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/William A. Leonard, Jr.
                                                                                      Trustee

             William A. Leonard, Jr.
             6625 S. Valley View Blvd.
             Bldg. B, Suite 224
             Las Vegas, NV 89118
             (702) 262-9322


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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